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                  UNITED STATES COURT OF APPEALS
                                                                 FILED
                          FOR THE NINTH CIRCUIT
                                                                 OCT 30 2020
                                                                MOLLY C. DWYER, CLERK
                                                                U.S. COURT OF APPEALS




KRISTIN M. PERRY; et al.,                   No. 20-16375

              Plaintiffs - Appellees,
                                            D.C. No. 3:09-cv-02292-WHO
CITY AND COUNTY OF SAN                      U.S. District Court for Northern
FRANCISCO,                                  California, San Francisco

              Intervenor-Plaintiff -        ORDER
Appellee,


KQED, INC.,

              Intervenor - Appellee,

 v.


GAVIN NEWSOM, Governor; et al.,

              Defendants - Appellees,

DENNIS HOLLINGSWORTH; et al.,

              Intervenor-Defendants -
Appellants,

and

PATRICK O'CONNELL, in his official
capacity as Clerk-Recorder for the
County of Alameda; DEAN C. LOGAN,
in his official capacity as Registrar-
Recorder/County Clerk for the County
         Case: 20-16375, 10/30/2020, ID: 11877377, DktEntry: 49, Page 2 of 2


 of Los Angeles,

               Defendants.


        The reply brief submitted on October 30, 2020 is filed.

        Within 7 days of this order, appellants are ordered to file 6 copies of the

brief in paper format with gray covers, accompanied by certification (attached to

the end of each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website, at

http://www.ca9.uscourts.gov/forms.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Stephanie M. Lee
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
